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                                                         ESTATE CONSTRUCTION COMPANY, PULTE
                                                       7 HOME CORPORATION, AND PULTE
                                                         DEVELOPMENT CORPORATION
                                                       8

                                                       9
                                                                                        UNITED STATES DISTRICT COURT
                                                      10
                                                                                             DISTRICT OF NEVADA
                                                      11
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                                                           CENTEX HOMES, a Nevada general                   Case No.:
                                                      12   partnership; CENTEX REAL ESTATE
                    6385 S. RAINBOW BLVD, SUITE 220




                                                           CONSTRUCTION COMPANY, a Nevada                   PLAINTIFFS’ COMPLAINT FOR:
                       LAS VEGAS, NEVADA 89118




                                                      13   corporation; PULTE HOME
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                                                           CORPORATION, a Michigan corporation;             (1) BREACH OF CONTRACT;
                                                      14   PULTE DEVELOPMENT CORPORATION,
                                                           a Michigan corporation                           (2) BREACH OF THE IMPLIED
                                                      15                                                    COVENANT OF GOOD FAITH AND
                                                                          Plaintiffs,                       FAIR DEALING;
                                                      16
                                                                    v.                                      (3) VIOLATIONS OF NEVADA’S
                                                      17                                                    UNFAIR CLAIMS SETTLEMENT
                                                                                                            PRACTICES ACT, NEV. REV. STAT.
                                                      18   NGM INSURANCE COMPANY, a Florida                 ANN. § 686A.310;
                                                           corporation,
                                                      19                                                    (4) DECLARATORY RELIEF—DUTY TO
                                                                          Defendant.                        DEFEND.
                                                      20
                                                                                                            JURY DEMAND
                                                      21

                                                      22

                                                      23         Plaintiffs Centex Homes, Centex Real Estate Construction Company, Pulte Home

                                                      24 Corporation, and Pulte Development Corporation (collectively, “Plaintiffs”) hereby allege as

                                                      25 follows:

                                                      26                                             PARTIES

                                                      27         1.      At all times mentioned herein, Centex Homes was and is a Nevada general

                                                      28 partnership with its principal place of business in Atlanta, Georgia. The partners of Centex Homes
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                                                       1 include (a) Centex Real Estate Corporation, (b) Nomas LLC, and (c) Centex International II, LLC.

                                                       2 Centex Homes is, and at all times mentioned herein was, authorized to do business in the State of

                                                       3 Nevada.

                                                       4          2.     At all times mentioned herein, Nomas LLC was and is a Nevada limited liability

                                                       5 company with its principal place of business in Atlanta, Georgia. The sole member of Nomas

                                                       6 LLC is Centex International II, LLC.

                                                       7          3.     At all times mentioned herein, Centex International II, LLC, was and is a Nevada

                                                       8 limited liability company with its principal place of business in Atlanta, Georgia. The sole

                                                       9 member of Centex International II, LLC is Centex LLC, which is also a Nevada limited liability

                                                      10 company with its principal place of business in Atlanta, Georgia.

                                                      11          4.     At all times mentioned herein, the sole member of Centex LLC is Centex Home
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                                                      12 Corporation, which is a Michigan Corporation with its principal place of business in Atlanta,
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                                                      13 Georgia.
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                                                      14          5.     At all times mentioned herein, Centex Real Estate Corporation (“Centex RE

                                                      15 Corp.”) was and is a Nevada corporation with its principal place of business in Atlanta, Georgia.

                                                      16          6.     At all times mentioned herein, Centex Real Estate Construction Company was and

                                                      17 is a Nevada corporation with its principal place of business in Atlanta, Georgia.

                                                      18          7.     At all times mentioned herein, Pulte Home Corporation was and is a Michigan

                                                      19 corporation with its principal place of business in Atlanta, Georgia.

                                                      20          8.     At all times mentioned herein, Pulte Development Corporation was and is a

                                                      21 Michigan corporation with its principal place of business in Atlanta, Georgia.

                                                      22          9.     Plaintiffs are informed and believe, and on that basis allege, that Defendant NGM

                                                      23 Insurance Company (“NGM”) at all times mentioned herein was and is a Florida corporation with

                                                      24 its principal place of business in Jacksonville, Florida. Upon information and belief, NGM is and

                                                      25 was at all times mentioned herein eligible to do business as an insurer in the State of Nevada and

                                                      26 in the State of Arizona. Plaintiffs are informed that NGM has substantial and continuous contacts

                                                      27 with the State of Nevada, including but not limited to, being licensed as a Nevada insurer

                                                      28 continuously since 2004, issuing insurance policies to Nevada residents, and appointing Nevada-


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                                                       1 based insurance agencies to issue policies for NGM in Nevada, giving Nevada courts general

                                                       2 jurisdiction over NGM.

                                                       3                                    JURISDICTION AND VENUE
                                                       4          10.     This Court has original jurisdiction over this action founded on diversity of

                                                       5 citizenship pursuant 28 U.S.C. § 1332, because the matters in controversy exceed $75,000.00,

                                                       6 exclusive of interest and costs, and because complete diversity exists between Plaintiffs and

                                                       7 Defendant.

                                                       8          11.     Venue is proper in this Court in accordance with 28 U.S.C. § 1391 because this

                                                       9 court has personal jurisdiction over the defendant as described in paragraph 9.

                                                      10                                     GENERAL ALLEGATIONS
                                                      11          12.     Plaintiffs are homebuilders that participated in the construction of residential
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                                                      12 developments in Nevada and Arizona; this dispute relates to seventeen of those developments (the
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                                                      13 “Developments”).
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                                                      14          13.     Plaintiffs performed no work at the Developments; instead, subcontractors
                                                      15 performed all of the work.

                                                      16          14.     Homeowners in each of the Developments asserted multiple construction defect
                                                      17 claims and lawsuits against Plaintiffs.

                                                      18          15.     Plaintiffs tendered each of the claims and lawsuits to NGM under one or more
                                                      19 commercial general liability insurance policies issued to one or more subcontractors who

                                                      20 performed work for Plaintiffs on the Developments.

                                                      21          16.     For each of the sixteen claims, NGM acknowledged that it has a duty to defend one

                                                      22 or more of the Plaintiffs as additional insureds under one or policies issued by NGM to Plaintiffs’

                                                      23 subcontractors.

                                                      24          17.     Since acknowledging its duty to defend Plaintiffs, NGM has paid nothing toward

                                                      25 the Plaintiffs’ defense in thirteen of the sixteen claims; and, in two of the claims has paid only a

                                                      26 nominal amount toward Plaintiffs’ defense.

                                                      27 The Subcontractors

                                                      28          18.     Stucco Systems, LLC (“Stucco Systems”) subcontracted with one or more of the


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                                                       1 Plaintiffs to, among other things, supply and install stucco systems in twelve of the sixteen

                                                       2 Developments.

                                                       3          19.     West Coast Air Conditioning, LLC dba Red Rock Mechanical (“West Coast AC”)

                                                       4 subcontracted with one or more of the Plaintiffs to, among other things, supply and install heating,

                                                       5 ventilation, and air conditioning systems in two of the sixteen Developments.

                                                       6          20.     Sun Tan Drywall subcontracted with one or more of the Plaintiffs, to, among other

                                                       7 things, supply and install drywall in one of the sixteen Developments.

                                                       8          21.     Cobra Plastering, Inc. (“Cobra Plastering”) subcontracted with one or more of the

                                                       9 Plaintiffs, to among other things, supply and install stucco systems in five of the sixteen

                                                      10 Developments.

                                                      11          22.     Anozira Stucco & Stone (“Anozira”) subcontracted with one or more of the
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                                                      12 Plaintiffs, to among things, supply and install stucco systems in two of the sixteen Developments.
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                                                      13          23.     Whittion Companies (“Whittion”) subcontracted with one or more of the Plaintiffs,
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                                                      14 to among other things, supply and install rough carpentry/framing in one of the sixteen

                                                      15 Developments.

                                                      16 The Stucco Systems Policies

                                                      17          24.     Stucco Systems performed work at twelve of the sixteen Developments pursuant to
                                                      18 written subcontracts that it entered into with one or more of the Plaintiffs.

                                                      19          25.     Each subcontract required Stucco Systems to maintain commercial general liability

                                                      20 insurance with minimum limits of $1,000,000 combined single limit per occurrence, $2,000,000

                                                      21 general aggregate, and $2,000,000 products/completed operations aggregate, and to name one or

                                                      22 more of the Plaintiffs, their respective officers, directors, partners, members and employees, as

                                                      23 additional insureds under those insurance policies.

                                                      24          26.     Stucco Systems obtained the following commercial general liability policies from

                                                      25 NGM (“the Stucco Systems policies”):

                                                      26    Insurer     Policy Number     Policy Period     Named Insured           Additional Insured
                                                             NGM         MPG2143B        2/1/10 – 2/1/15    Stucco Systems       Pulte Home Corp.; Pulte
                                                      27                                                                      Development Corp.; Centex Real
                                                      28                                                                          Estate Construction Co.


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                                                       1          27.     The Stucco Systems policies were endorsed to cover the Additional Insured

                                                       2 Plaintiffs listed above as an “additional insured” with respect to liability arising out of Stucco

                                                       3 Systems’ work.

                                                       4          28.     The coverage afforded under the Stucco Systems policies require NGM to defend

                                                       5 the Additional Insured Plaintiffs listed above against all claims that create potential liability for

                                                       6 covered property damage or bodily injury.

                                                       7 The West Coast AC Policies

                                                       8          29.     West Coast AC performed work at three of the sixteen Developments pursuant to

                                                       9 one or more written subcontracts that it entered into with one or more of the Plaintiffs.

                                                      10          30.     Each subcontract required West Coast AC to maintain commercial general liability

                                                      11 insurance with minimum limits of $1,000,000 combined single limit per occurrence, $2,000,000
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                                                      12 general aggregate, and $2,000,000 products/completed operations aggregate, and to name one or
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                                                      13 more of the Plaintiffs, their respective officers, directors, partners, members and employees, as
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                                                      14 additional insureds under those insurance policies.

                                                      15          31.     West Coast AC obtained the following commercial general liability policies from

                                                      16 NGM (“the West Coast AC policies”):

                                                      17    Insurer     Policy No.        Policy Period         Named Insured         Additional Insured
                                                             NGM        MPG3722A        3/24/09 – 3/24/10       West Coast AC     Centex Homes; Centex Real
                                                      18                                                                            Estate Construction Co.
                                                      19

                                                      20          32.     The West Coast AC policies were endorsed to cover the Additional Insured
                                                      21 Plaintiffs listed above as an “additional insured” with respect to liability arising out of the work of

                                                      22 West Coast AC.

                                                      23          33.     The coverage afforded under the West Coast AC policies require NGM to defend
                                                      24 the Additional Insured Plaintiffs listed above against all claims that create potential liability for

                                                      25 covered property damage or bodily injury.

                                                      26 The Cobra Plastering Policies

                                                      27          34.     Cobra Plastering performed work at five of the sixteen Developments pursuant to
                                                      28 one or more written subcontracts that it entered into with one or more of the Plaintiffs.


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                                                       1          35.     Each subcontract required Cobra Plastering to maintain commercial general

                                                       2 liability insurance with minimum limits of $1,000,000 combined single limit per occurrence,

                                                       3 $2,000,000 general aggregate, and $2,000,000 products/completed operations aggregate, and to

                                                       4 name one or more of the Plaintiffs, their respective officers, directors, partners, members and

                                                       5 employees, as additional insureds under those insurance policies.

                                                       6          36.     Cobra Plastering obtained the following commercial general liability policies from

                                                       7 NGM (“the Cobra Plastering policies”):

                                                       8      Insurer     Policy Number       Policy Period          Named Insured       Additional Insured
                                                               NGM         MPG1882B         12/15/09 – 6/7/10            Cobra       Pulte Development Corp.;
                                                       9                                                               Plastering        Pulte Home Corp.;
                                                      10

                                                      11          37.     The Cobra Plastering policies were endorsed to cover the Additional Insured
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                                                      12 Plaintiffs listed above as an “additional insured” with respect to liability arising out of Cobra
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                                                      13 Plastering’s work.
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                                                      14          38.     The coverage afforded under the Cobra Plastering policies requires NGM to defend

                                                      15 the Additional Insured Plaintiffs listed above against all claims that create potential liability for

                                                      16 covered property damage or bodily injury.

                                                      17 The Anozira Policies

                                                      18          39.     Anozira performed work at one of the sixteen Developments pursuant to one or

                                                      19 more written subcontracts that it entered into with one or more of the Plaintiffs.

                                                      20          40.     Each subcontract required Anozira to maintain commercial general liability

                                                      21 insurance with minimum limits of $1,000,000 combined single limit per occurrence, $2,000,000

                                                      22 general aggregate, and $2,000,000 products/completed operations aggregate, and to name one or

                                                      23 more of the Plaintiffs, their respective officers, directors, partners, members and employees, as

                                                      24 additional insureds under those insurance policies.

                                                      25          41.     Anozira obtained the following commercial general liability policies from NGM

                                                      26 (“the Anozira policies”):

                                                      27     Insurer     Policy No.        Policy Period                    Additional Insured
                                                              NGM        MPG17259        5/25/11 – 5/25/14      Pulte Development Corp., Centex Real Estate
                                                      28                                                          Construction Co., and Pulte Home Corp.


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                                                       1          42.     The Anozira policies were endorsed to cover the Additional Insured Plaintiffs

                                                       2 identified above as “additional insureds” with respect to liability arising out of Anozira’s work.

                                                       3          43.     The coverage afforded under the Anozira policies requires NGM to defend the

                                                       4 Additional Insured Plaintiffs identified above against all claims that create potential liability for

                                                       5 covered property damage or bodily injury.

                                                       6 The Whittion Policies

                                                       7          44.     Whittion performed work at one of the sixteen Developments pursuant to one or

                                                       8 more written subcontracts that it entered into with one or more of the Plaintiffs.

                                                       9          45.     Each subcontract required Whittion to maintain commercial general liability

                                                      10 insurance with minimum limits of $1,000,000 combined single limit per occurrence, $2,000,000

                                                      11 general aggregate, and $2,000,000 products/completed operations aggregate, and to name one or
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                                                      12 more of the Plaintiffs, their respective officers, directors, partners, members and employees, as
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                                                      13 additional insureds under those insurance policies.
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                                                      14          46.     Whittion obtained the following commercial general liability policies from NGM

                                                      15 (“the Whittion policies”):

                                                      16     Insurer    Policy No.       Policy Period                    Additional Insured
                                                              NGM       MPT0573E       3/30/12 – 3/30/13      Pulte Development Corp., Centex Real Estate
                                                      17                                                        Construction Co., and Pulte Home Corp.
                                                      18

                                                      19          47.     The Whittion policies were endorsed to cover the Additional Insured Plaintiffs

                                                      20 identified above as “additional insureds” with respect to liability arising out of Whittion’s work.

                                                      21          48.     The coverage afforded under the Whittion policies requires NGM to defend the

                                                      22 Additional Insured Plaintiffs identified above against all claims that create potential liability for

                                                      23 covered property damage or bodily injury.

                                                      24 The Sun Tan Drywall Policies

                                                      25          49.     Sun Tan Drywall performed work at one of the sixteen Developments pursuant to

                                                      26 one or more written subcontracts that it entered into with one or more of the Plaintiffs.

                                                      27          50.     Each subcontract required Sun Tan Drywall to maintain commercial general

                                                      28 liability insurance with minimum limits of $1,000,000 combined single limit per occurrence,


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                                                       1 $2,000,000 general aggregate, and $2,000,000 products/completed operations aggregate, and to

                                                       2 name one or more of the Plaintiffs, their respective officers, directors, partners, members and

                                                       3 employees, as additional insureds under those insurance policies.

                                                       4          51.     Sun Tan Drywall obtained the following commercial general liability policies from

                                                       5 NGM (“the Sun Tan Drywall policies”):

                                                       6     Insurer    Policy Number       Policy Period                   Additional Insured
                                                              NGM        MPG7686A          8/1/09 – 8/1/16           Centex Homes; Centex Real Estate
                                                       7                                                                  Construction Company
                                                       8

                                                       9          52.     The Sun Tan Drywall policies were endorsed to cover the Additional Insured

                                                      10 Plaintiffs identified above as “additional insureds” with respect to liability arising out of Sun Tan

                                                      11 Drywall’s work.
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                                                      12          53.     The coverage afforded under the Sun Tan Drywall policies requires NGM to defend
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                                                      13 the Additional Insured Plaintiffs identified above against all claims that create potential liability
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                                                      14 for covered property damage or bodily injury.

                                                      15 The Adams Action

                                                      16          54.     On February 19, 2016, homeowners in the Horizon Park development in North Las

                                                      17 Vegas, Nevada filed a construction defect complaint entitled Joseph A. & Judi R. Adams, et al. v.

                                                      18 Centex Homes, District Court, Clark County, Nevada, Case No. A-16-732116-D (“Adams”),

                                                      19 against Centex alleging, among other things, that homes in the development contain defective and

                                                      20 negligent design, engineering, materials, and construction, and that these defects caused property

                                                      21 damage for which Plaintiff Centex Homes (“Centex”) is liable.

                                                      22          55.     The Adams complaint, pre-litigation NRS Chapter 40 notices of construction

                                                      23 defects, and expert reports produced in the Adams action allege that the work of West Coast AC

                                                      24 caused property damage to the work of others.

                                                      25          56.     The Adams complaint, pre-litigation NRS Chapter 40 notices of construction

                                                      26 defects, and expert reports in the Adams action were provided to NGM by Centex and should have

                                                      27 been considered by NGM when making its coverage decision.

                                                      28          57.     Centex tendered the defense and indemnity of the Adams claim to NGM under the


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                                                       1 West Coast AC policies on or around November 9, 2015.

                                                       2          58.     After a delay of ten months, NGM acknowledged its duty to defend Centex in the

                                                       3 Adams action under the West Coast AC policies on or around August 11, 2016.

                                                       4          59.     On June 27, 2017, NGM improperly withdrew its defense of Centex in the Adams

                                                       5 action alleging that there were no allegations of property damage related to West Coast AC’s

                                                       6 work, even though none of the allegations had changed from the time NGM acknowledged its

                                                       7 duty to defend Centex to the date on which NGM improperly withdrew its defense.

                                                       8          60.     NGM has paid only $2,000 towards Centex’s defense in the Adams matter, even

                                                       9 though NGM owes Centex more than $200,000 in defense fees as of the date of the filing of this

                                                      10 complaint. Centex will continue to incur defense fees and costs in the Adams action.

                                                      11          61.     As a result of the claims alleged in the Adams action and NGM’s failure to defend
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                                                      12 Centex, Centex has incurred and will continue to incur significant costs, including, but not limited
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                                                      13 to, forensic, investigative, and repair costs, attorneys’ fees and other expenses.
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                                                      14 The Adell Action

                                                      15          62.     On April 24, 2015, homeowners in the Paseo Pointe development in Phoenix,
                                                      16 Arizona filed a construction defect complaint entitled Chris Adell, et al. v. Pulte Home

                                                      17 Corporation, Superior Court, Maricopa County, Arizona, Case No. CV2015-051756 (“Adell”),

                                                      18 against Pulte Home Corporation (“Pulte”) alleging, among other things, that homes in the

                                                      19 development contained defective and negligent design, engineering, materials, and construction,

                                                      20 and that these defects caused damage for which Pulte is liable.

                                                      21          63.     The Adell complaint and expert reports produced in the Adell action allege that the

                                                      22 work of Stucco Systems caused property damage to the work of others.

                                                      23          64.     The Adell complaint and expert reports in the Adell action were provided to NGM

                                                      24 by Pulte and should have been considered by NGM when making its coverage decision.

                                                      25          65.     Pulte tendered the defense and indemnity of the Adell claim to NGM under the

                                                      26 Stucco Systems policies on or around May 28, 2015.

                                                      27          66.     After a delay of over three months, NGM wrongfully denied Pulte’s tender of the

                                                      28 Adell claim under the Stucco Systems policies on September 16, 2015. Over a year and a half


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                                                       1 later, on March 1, 2018, NGM acknowledged its duty to defend Pulte in the Adell action under the

                                                       2 Pacific Stucco policies, even though none of the allegations in Adell had changed since NGM

                                                       3 wrongfully denied Pulte’s tender.

                                                       4          67.     Despite acknowledging its duty to defend Pulte in the Adell action, NGM has paid

                                                       5 nothing towards Pulte’s defense.

                                                       6          68.     NGM purports to assign separate defense counsel to Pulte in the Adell action.

                                                       7 However, NGM delayed in acknowledging its duty to defend Pulte and by so doing waived any

                                                       8 right it may have had to assign counsel to defend Pulte. Furthermore, there are conflicts of interest

                                                       9 between NGM and Pulte which entitle Pulte to independent counsel.

                                                      10          69.     As a result of the claims alleged in the Adams action and NGM’s failure to provide

                                                      11 Pulte with a defense, Pulte has incurred and will continue to incur significant costs, including, but
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                                                      12 not limited to, forensic, investigative, and repair costs, attorneys’ fees and other expenses.
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                                                      13 The Arcibal Action
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                                                      14          70.     On February 8, 2017, homeowners in the Vista de Montana development in
                                                      15 Buckeye, Arizona filed a construction defect complaint entitled Virgilio Q. Arcibal, et al. v. Pulte

                                                      16 Home Corporation, Superior Court, Maricopa County, Arizona, Case No. CV2016-054648

                                                      17 (“Arcibal”), against Pulte alleging, among other things, that homes in the development contained

                                                      18 defective and negligent design, engineering, materials, and construction, that these defects caused

                                                      19 damages that Pulte is liable for.

                                                      20          71.     The Arcibal complaint and expert reports produced in the Arcibal action allege that

                                                      21 the work of Stucco Systems caused property damage to the work of others.

                                                      22          72.     The Arcibal complaint and expert reports in the Arcibal action were provided to

                                                      23 NGM by Pulte and should have been considered by NGM when making its coverage decision.

                                                      24          73.     Pulte tendered the defense and indemnity of the Arcibal claim to NGM under the

                                                      25 Stucco Systems policies on or around July 12, 2016.

                                                      26          74.     After a four-month delay, NGM acknowledged its duty to defend Pulte in the

                                                      27 Arcibal action under the Stucco Systems policies on November 15, 2016.

                                                      28          75.     Despite acknowledging its duty to defend Pulte in the Arcibal action, NGM has


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                                                       1 paid nothing towards Pulte’s defense.

                                                       2           76.    NGM purported to assign separate defense counsel to Pulte in the Arcibal action.

                                                       3 However, NGM delayed in acknowledging its duty to defend Pulte and by doing so waived any

                                                       4 right it may have had assign counsel to defend Pulte. Further, there are conflicts of interest

                                                       5 between NGM and Pulte as well as between Pulte and NGM’s chosen counsel which entitle Pulte

                                                       6 to independent counsel.

                                                       7           77.    As a result of the claims alleged in the Arcibal action and NGM’s failure to provide

                                                       8 Pulte with a defense, Pulte has incurred and will continue to incur significant costs, including, but

                                                       9 not limited to, forensic, investigative, and repair costs, attorneys’ fees and other expenses.

                                                      10 The Arguello Action

                                                      11           78.    On September 9, 2016, homeowners in the Desert Oasis development in Surprise,
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                                                      12 Arizona filed a construction defect complaint entitled Francisco Arguello, et al. v. Centex Homes,
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                                                      13 Centex Real Estate Construction Company, Superior Court, Maricopa County, Arizona, Case No.
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                                                      14 CV2016-054383 (“Arguello”), against Centex Homes and Centex Real Estate Construction

                                                      15 Company (collectively, “Centex entities”) alleging, among other things, that homes in the

                                                      16 development contained defective and negligent design, engineering, materials, and construction,

                                                      17 that these defects caused damages that the Centex entities are liable for.

                                                      18           79.    The Arguello complaint and expert reports produced in the Arguello action allege
                                                      19 that the work of West Coast AC and Sun Tan Drywall caused property damage to the work of

                                                      20 others.

                                                      21           80.    The Arguello complaint and expert reports in the Arguello action were provided to

                                                      22 NGM by the Centex entities and should have been considered by NGM when making its coverage

                                                      23 decision.

                                                      24           81.    The Centex entities tendered the defense and indemnity of the Arguello claim to

                                                      25 NGM under the West Coast AC policies and Sun Tan Drywall policies on or around November

                                                      26 25, 2015.

                                                      27           82.    After a ten-month delay, NGM acknowledged its duty to defend the Centex entities

                                                      28 in the Arguello action under the West Coast AC policies on September 20, 2016.


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                                                       1          83.     After a thirteen-month delay, NGM acknowledged its duty to defend the Centex

                                                       2 entities in the Arguello action under the Sun Tan Drywall policies on December 22, 2016.

                                                       3          84.     Despite acknowledging its duty to defend the Centex entities in the Arguello action,

                                                       4 NGM has paid nothing towards the Centex entities’ defense.

                                                       5          85.     NGM purported to assign separate counsel to defend the Centex entities in the

                                                       6 Arguello action. However, NGM delayed in acknowledging its duty to defend the Centex entities

                                                       7 and by doing so waived any right it may have had to assign counsel to defend the Centex entities.

                                                       8 Further, there are conflicts of interest between NGM and the Centex entities as well as between

                                                       9 the Centex entities and NGM’s chosen counsel which entitle the Centex entities to independent

                                                      10 counsel.

                                                      11          86.     As a result of the claims alleged in the Arguello action and NGM’s failure to
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                                                      12 provide the Centex entities with a defense, the Centex entities have incurred and will continue to
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                                                      13 incur significant costs, including, but not limited to, forensic, investigative, and repair costs,
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                                                      14 attorneys’ fees and other expenses.

                                                      15 The Banaszewski Action

                                                      16          87.     On July 1, 2015, homeowners in the Pecan Creek South development in San Tan
                                                      17 Valley, Arizona filed a construction defect complaint entitled Peter and Andrea L. Banaszewski, et

                                                      18 al. v. Centex Homes, Superior Court, Pinal County, Arizona, Case No. CV2015-01501214

                                                      19 (“Banaszewski”), against Centex alleging, among other things, that homes in the development

                                                      20 contained defective and negligent design, engineering, materials, and construction, that these

                                                      21 defects caused damages that the Centex is liable for.

                                                      22          88.     The Banaszewski complaint and expert reports produced in the Banaszewski action

                                                      23 allege that the work of West Coast AC caused property damage to the work of others.

                                                      24          89.     The Banaszewski complaint and expert reports in the Banaszewski action were

                                                      25 provided to NGM by Centex and should have been considered by NGM when making its coverage

                                                      26 decision.

                                                      27          90.     Centex tendered the defense and indemnity of the Banaszewski claim to NGM

                                                      28 under the West Coast AC policies on or around January 14, 2016.


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                                                       1          91.     After a five-month delay, NGM acknowledged its duty to defend the Centex

                                                       2 entities in the Banaszewski action under the West Coast AC policies on June 8, 2016.

                                                       3          92.     Despite acknowledging its duty to defend Centex in the Banaszewski action, NGM

                                                       4 has paid nothing towards Centex’s defense.

                                                       5          93.     NGM purported to assign separate counsel to defend Centex in the Banaszewski

                                                       6 action. However, NGM delayed in acknowledging its duty to defend Centex and by doing so

                                                       7 waived any right it may have had to assign counsel to defend Centex. Further, there are conflicts

                                                       8 of interest between NGM and Centex as well as between Centex and NGM’s chosen counsel

                                                       9 which entitle Centex to independent counsel.

                                                      10          94.     As a result of the claims alleged in the Banaszewski action and NGM’s failure to

                                                      11 provide Centex with a defense, Centex has incurred and will continue to incur significant costs,
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                                                      12 including, but not limited to, forensic, investigative, and repair costs, attorneys’ fees and other
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                                                      13 expenses.
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                                                      14 The Bandoni Action

                                                      15          95.     On June 9, 2016, homeowners in the Martin Valley development in Coolidge,
                                                      16 Arizona filed a construction defect complaint entitled Carmen Mark Bandoni, et al. v. Pulte Home

                                                      17 Corporation; Pulte Development Corporation, Superior Court, Pinal County, Arizona, Case No.

                                                      18 CV201601001 (“Bandoni”), against Pulte Home Corporation and Pulte Development Corporation

                                                      19 (collectively, the “Pulte entities”) alleging, among other things, that homes in the development

                                                      20 contained defective and negligent design, engineering, materials, and construction, that these

                                                      21 defects caused damages that the Pulte entities are liable for.

                                                      22          96.     The Bandoni complaint and expert reports produced in the Bandoni action allege

                                                      23 that the work of Cobra Plastering caused property damage to the work of others.

                                                      24          97.     The Bandoni complaint and expert reports in the Bandoni action were provided to

                                                      25 NGM by the Pulte entities and should have been considered by NGM when making its coverage

                                                      26 decision.

                                                      27          98.     The Pulte entities tendered the defense and indemnity of the Bandoni claim to

                                                      28 NGM under the Cobra Plastering policies on or around October 9, 2015.


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                                                       1          99.     After an eight-month delay, NGM acknowledged its duty to defend the Pulte

                                                       2 entities in the Bandoni action under the Cobra Plastering policies on June 10, 2016.

                                                       3          100.    Despite acknowledging its duty to defend the Pulte entities in the Bandoni action,

                                                       4 NGM has paid nothing towards the Pulte entities’ defense.

                                                       5          101.    NGM purported to assign separate counsel to defend the Pulte entities in the

                                                       6 Bandoni action. However, NGM delayed in acknowledging its duty to defend the Pulte entities

                                                       7 and by doing so waived any right it may have had to assign counsel to defend the Pulte entities.

                                                       8 Further, there are conflicts of interest between NGM and the Pulte entities as well as between the

                                                       9 Pulte entities and NGM’s chosen counsel which entitle the Pulte entities to independent counsel.

                                                      10          102.    As a result of the claims alleged in the Bandoni action and NGM’s failure to

                                                      11 provide the Pulte entities with a defense, the Pulte entities have incurred and will continue to incur
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                                                      12 significant costs, including, but not limited to, forensic, investigative, and repair costs, attorneys’
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                                                      13 fees and other expenses.
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                                                      14 The Banning Action

                                                      15          103.    On May 19, 2017, homeowners in the White Tank Foothills development in
                                                      16 Maricopa County, Arizona filed a construction defect complaint entitled Ronnie & Yirong

                                                      17 Banning, et al. v. Pulte Home Corporation and Pulte Development Corporation, Superior Court,

                                                      18 Maricopa County, Arizona, Case No. CV2017-007142 (“Banning”), against Pulte Home

                                                      19 Corporation and Pulte Development Corporation (collectively, “Pulte entities”) alleging, among

                                                      20 other things, that homes in the development contained defective and negligent design, engineering,

                                                      21 materials, and construction, that these defects caused damages that the Pulte entities are liable for.

                                                      22          104.    The Banning complaint and expert reports produced in the Banning action allege

                                                      23 that the work of Stucco Systems caused property damage to the work of others.

                                                      24          105.    The Banning complaint and expert reports in the Banning action were provided to

                                                      25 NGM by the Pulte entities and should have been considered by NGM when making its coverage

                                                      26 decision.

                                                      27          106.    The Pulte entities tendered the defense and indemnity of the Banning claim to

                                                      28 NGM under the Stucco Systems policies on or around May 5, 2017.


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                                                       1          107.    After a three-month delay, NGM acknowledged its duty to defend the Pulte entities

                                                       2 in the Banning action under the Stucco Systems policies on August 15, 2017.

                                                       3          108.    Despite acknowledging its duty to defend the Pulte entities in the Banning action,

                                                       4 NGM has paid nothing towards the Pulte entities’ defense.

                                                       5          109.    NGM purported to assign separate counsel to defend the Pulte entities in the

                                                       6 Banning action. However, NGM delayed in acknowledging its duty to defend the Pulte entities

                                                       7 and by doing so waived any right it may have had to assign counsel to defend the Pulte entities.

                                                       8 Further, there are conflicts of interest between NGM and the Pulte entities as well as between the

                                                       9 Pulte entities and NGM’s chosen counsel which entitle the Pulte entities to independent counsel.

                                                      10          110.    As a result of the claims alleged in the Banning action and NGM’s failure to

                                                      11 provide the Pulte entities with a defense, the Pulte entities have incurred and will continue to incur
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                                                      12 significant costs, including, but not limited to, forensic, investigative, and repair costs, attorneys’
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                                                      13 fees and other expenses.
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                                                      14 The Brown Arbitration

                                                      15          111.    On November 7, 2017, homeowners in the Sun City Festival development in
                                                      16 Buckeye, Arizona, including the lead claimants, Carl T. and Linda S. Brown, filed an arbitration

                                                      17 demand with the American Arbitration Association against Pulte (“Brown”), alleging, among

                                                      18 other things, that homes in the development contained defective and negligent design, engineering,

                                                      19 materials, and construction, that these defects caused damages that Pulte is liable for.

                                                      20          112.    The Brown pre-litigation notices, arbitration demand, and expert reports produced

                                                      21 in Brown allege that the work of Stucco Systems and Cobra Plastering caused property damage to

                                                      22 the work of others.

                                                      23          113.    The Brown pre-litigation notices, arbitration demand, and expert reports iwere

                                                      24 provided to NGM by Pulte and should have been considered by NGM when making its coverage

                                                      25 decision.

                                                      26          114.    Pulte tendered the defense and indemnity of the Brown claim to NGM under the

                                                      27 Stucco Systems and Cobra Plastering policies on or around November 21, 2016.

                                                      28          115.    After a five-month delay, NGM acknowledged its duty to defend Pulte in Brown


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                                                       1 under the Stucco Systems policies and the Cobra Plastering policies on April 14, 2017.

                                                       2          116.    Despite acknowledging its duty to defend Pulte in Brown, NGM has paid nothing

                                                       3 towards Pulte’s defense.

                                                       4          117.    NGM purported to assign separate counsel to defend Pulte in Brown. However,

                                                       5 NGM delayed in acknowledging its duty to defend Pulte and by doing so waived any right it may

                                                       6 have had to assign counsel to defend Pulte. Further, there are conflicts of interest between NGM

                                                       7 and Pulte as well as between Pulte and NGM’s chosen counsel which entitle Pulte to independent

                                                       8 counsel.

                                                       9          118.    As a result of the claims alleged in Brown and NGM’s failure to provide Pulte with

                                                      10 a defense, Pulte has incurred and will continue to incur significant costs, including, but not limited

                                                      11 to, forensic, investigative, and repair costs, attorneys’ fees and other expenses.
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                                                      12 The Chavez Action
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                                                      13          119.    On June 4, 2014, homeowners in the Anthem at Merrill Ranch development in
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                                                      14 Florence, Arizona filed a construction defect complaint entitled Joe and Brenda Chavez, et al. v.

                                                      15 Pulte Home Corporation, Superior Court, Pinal County, Arizona, Case No. CV2014-01401446

                                                      16 (“Chavez”), against Pulte alleging, among other things, that homes in the development contained

                                                      17 defective and negligent design, engineering, materials, and construction, that these defects caused

                                                      18 damages that Pulte is liable for.

                                                      19          120.    The Chavez complaint and expert reports produced in the Chavez action allege that

                                                      20 the work of Stucco Systems and Cobra Plastering caused property damage to the work of others.

                                                      21          121.    The Chavez complaint and expert reports in the Chavez action were provided to

                                                      22 NGM by Pulte and should have been considered by NGM when making its coverage decision.

                                                      23          122.    Pulte tendered the defense and indemnity of the Chavez claim to NGM under the

                                                      24 Stucco Systems policies and the Cobra Plastering policies on or around October 30, 2014.

                                                      25          123.    After a delay of a year and a half, NGM improperly denied its Pulte’s tender of the

                                                      26 Chavez action under the Cobra Plastering policies on April 18, 2016.

                                                      27          124.    More than two years after Pulte tendered its defense to NGM under the Cobra

                                                      28 Plastering policies and Stucco Systems policies, NGM acknowledged its duty to defend Pulte in


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                                                       1 the Chavez action under the Cobra Plastering policies and the Stucco Systems policies on

                                                       2 November 8, 2016.

                                                       3          125.    Despite acknowledging its duty to defend Pulte in the Chavez action, NGM has

                                                       4 paid nothing towards Pulte’s defense.

                                                       5          126.    NGM purported to assign separate counsel to defend Pulte in the Chavez action.

                                                       6 However, NGM unreasonably delayed in acknowledging its duty to defend Pulte and by doing so

                                                       7 waived any right it may have had to assign counsel to defend Pulte. Further, there are conflicts of

                                                       8 interest between NGM and Pulte as well as between Pulte and NGM’s chosen counsel which

                                                       9 entitle Pulte to independent counsel.

                                                      10          127.    As a result of the claims alleged in the Chavez action and NGM’s failure to provide

                                                      11 Pulte with a defense, Pulte has incurred and will continue to incur significant costs, including, but
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                                                      12 not limited to, forensic, investigative, and repair costs, attorneys’ fees and other expenses.
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                                                      13 The Castanos Action
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                                                      14          128.    On November 8, 2016, homeowners in the White Tank Foothills development in
                                                      15 Waddell, Arizona filed a construction defect complaint entitled Maj Lucas C. Castanos, Jr., et al.

                                                      16 v. Pulte Home Corporation, Superior Court, Maricopa County, Arizona, Case No. CV2016-

                                                      17 054810 (“Castanos”), against Pulte alleging, among other things, that homes in the development

                                                      18 contained defective and negligent design, engineering, materials, and construction, that these

                                                      19 defects caused damages that Pulte is liable for.

                                                      20          129.    The Castanos complaint and expert reports produced in the Castanos action allege

                                                      21 that the work of Stucco Systems caused property damage to the work of others.

                                                      22          130.    The Castanos complaint and expert reports in the Castanos action were provided

                                                      23 to NGM by Pulte and should have been considered by NGM when making its coverage decision.

                                                      24          131.    Pulte tendered the defense and indemnity of the Castanos claim to NGM under the

                                                      25 Stucco Systems policies on or around September 9, 2016.

                                                      26          132.    After a delay of over three-months, NGM acknowledged its duty to defend Pulte in

                                                      27 the Castanos action under the Stucco Systems policies on December 22, 2016.

                                                      28          133.    Despite acknowledging its duty to defend Pulte in the Castanos action, NGM has


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                                                       1 paid nothing towards Pulte’s defense.

                                                       2          134.    NGM purported to assign separate counsel to defend Pulte in the Castanos action.

                                                       3 However, NGM unreasonably delayed in acknowledging its duty to defend Pulte and by doing so

                                                       4 waived any right it may have had to assign counsel to defend Pulte. Further, there are conflicts of

                                                       5 interest between NGM and Pulte as well as between Pulte and NGM’s chosen counsel which

                                                       6 entitle Pulte to independent counsel.

                                                       7          135.    As a result of the claims alleged in the Castanos action and NGM’s failure to

                                                       8 provide Pulte with a defense, Pulte has incurred and will continue to incur significant costs,

                                                       9 including, but not limited to, forensic, investigative, and repair costs, attorneys’ fees and other

                                                      10 expenses.

                                                      11 The Cunningham Action
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                                                      12          136.    On March 28, 2017, homeowners in the Vista De Montana development in
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                                                      13 Buckeye, Arizona filed a construction defect complaint entitled Brian & Sharon Cunningham., et
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                                                      14 al. v. Pulte Home Corporation, Superior Court, Maricopa County, Arizona, Case No. CV2017-

                                                      15 005275 (“Cunningham”), against Pulte alleging, among other things, that homes in the

                                                      16 development contained defective and negligent design, engineering, materials, and construction,

                                                      17 that these defects caused damages that Pulte is liable for.

                                                      18          137.    The Cunningham complaint and expert reports produced in the Cunningham action
                                                      19 allege that the work of Stucco Systems caused property damage to the work of others.

                                                      20          138.    The Cunningham complaint and expert reports in the Cunningham action were

                                                      21 provided to NGM by Pulte and should have been considered by NGM when making its coverage

                                                      22 decision.

                                                      23          139.    Pulte tendered the defense and indemnity of the Cunningham claim to NGM under

                                                      24 the Stucco Systems policies on or around November 22, 2015.

                                                      25          140.    After a delay of five months, NGM denied Pulte’s tender of its defense in

                                                      26 Cunningham under the Stucco Systems policies on March 16, 2016.

                                                      27          141.    After a delay of nearly two years, NGM acknowledged its duty to defend Pulte in

                                                      28 the Cunningham action under the Stucco Systems policies on June 28, 2017.


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                                                       1          142.    Despite acknowledging its duty to defend Pulte in the Cunningham action, NGM

                                                       2 has paid nothing towards Pulte’s defense.

                                                       3          143.    NGM purported to assign separate counsel to defend Pulte in the Cunningham

                                                       4 action. However, NGM unreasonably delayed in acknowledging its duty to defend Pulte and by

                                                       5 doing so waived any right it may have had to assign counsel to defend Pulte. Further, there are

                                                       6 conflicts of interest between NGM and Pulte as well as between Pulte and NGM’s chosen counsel

                                                       7 which entitle Pulte to independent counsel.

                                                       8          144.    As a result of the claims alleged in the Cunningham action and NGM’s failure to

                                                       9 provide Pulte with a defense, Pulte has incurred and will continue to incur significant costs,

                                                      10 including, but not limited to, forensic, investigative, and repair costs, attorneys’ fees and other

                                                      11 expenses.
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                                                      12 The Demiris Action
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                                                      13          145.    On July 13, 2017, homeowners in the Paseo Pointe Replat development in Laveen,
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                                                      14 Arizona filed a construction defect complaint entitled Cristina Demiris., et al. v. Pulte

                                                      15 Development Corporation, Centex Real Estate Construction Company and Pulte Home

                                                      16 Corporation, Superior Court, Maricopa County, Arizona, Case No. CV2017-010394 (“Demiris”),

                                                      17 against Pulte and the Centex entities alleging, among other things, that homes in the development

                                                      18 contained defective and negligent design, engineering, materials, and construction, that these

                                                      19 defects caused damages that Pulte and the Centex entities are liable for.

                                                      20          146.    The Demiris complaint and expert reports produced in the Demiris action allege

                                                      21 that the work of Stucco Systems caused property damage to the work of others.

                                                      22          147.    The Demiris complaint and expert reports in the Demiris action were provided to

                                                      23 NGM by Pulte and the Centex entities and should have been considered by NGM when making its

                                                      24 coverage decision.

                                                      25          148.    Pulte and the Centex entities tendered the defense and indemnity of the Demiris

                                                      26 claim to NGM under the Stucco Systems policies on or around March 30, 2017.

                                                      27          149.    After a delay of over eight months, NGM acknowledged its duty to defend Pulte

                                                      28 and the Centex entities in the Demiris action under the Stucco Systems policies on February 5,


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                                                       1 2018.

                                                       2          150.    Despite acknowledging its duty to defend Pulte and the Centex entities in the

                                                       3 Demiris action, NGM has paid nothing towards Pulte and the Centex entities’ defense.

                                                       4          151.    NGM purported to assign separate counsel to defend Pulte and the Centex entities

                                                       5 in the Demiris action. However, NGM unreasonably delayed in acknowledging its duty to defend

                                                       6 Pulte and the Centex entities and by doing so waived any right it may have had to assign counsel

                                                       7 to defend Pulte and the Centex entities. Further, there are conflicts of interest between NGM and

                                                       8 Pulte and the Centex entities as well as between Pulte and the Centex entities and NGM’s chosen

                                                       9 counsel which entitle Pulte and the Centex entities to independent counsel.

                                                      10          152.    As a result of the claims alleged in the Demiris action and NGM’s failure to

                                                      11 provide Pulte and the Centex entities with a defense, Pulte and the Centex entities have incurred
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                                                      12 and will continue to incur significant costs, including, but not limited to, forensic, investigative,
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                                                      13 and repair costs, attorneys’ fees and other expenses.
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                                                      14 The Alford Action

                                                      15          153.    On April 13, 2017, homeowners in the Mountain Horizons development in Mesa,
                                                      16 Arizona filed a construction defect complaint entitled Kathryn Alford., et al. v. Pulte Home

                                                      17 Corporation, Superior Court, Maricopa County, Arizona, Case No. CV2017-003766 (“Alford”),

                                                      18 against Pulte alleging, among other things, that homes in the development contained defective and

                                                      19 negligent design, engineering, materials, and construction, that these defects caused damages that

                                                      20 Pulte is liable for.

                                                      21          154.    The Alford complaint and expert reports produced in the Alford action allege that

                                                      22 the work of Stucco Systems caused property damage to the work of others.

                                                      23          155.    The Alford complaint and expert reports in the Alford action were provided to

                                                      24 NGM by Pulte and should have been considered by NGM when making its coverage decision.

                                                      25          156.    Pulte tendered the defense and indemnity of the Alford claim to NGM under the

                                                      26 Stucco Systems policies on or around April 29, 2016.

                                                      27          157.    After a delay of nearly five months, NGM improperly denied Pulte’s tender on

                                                      28 September 8, 2016.


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                                                       1          158.    After a delay of a year and a half, NGM acknowledged its duty to defend Pulte in

                                                       2 the Alford action under the Stucco Systems policies on September 11, 2017.

                                                       3          159.    Despite acknowledging its duty to defend Pulte in the Alford action, NGM has paid

                                                       4 nothing towards Pulte’s defense.

                                                       5          160.    NGM purported to assign separate counsel to defend Pulte in the Alford action.

                                                       6 However, NGM unreasonably delayed in acknowledging its duty to defend Pulte and by doing so

                                                       7 waived any right it may have had to assign counsel to defend Pulte. Further, there are conflicts of

                                                       8 interest between NGM and Pulte as well as between Pulte and NGM’s chosen counsel which

                                                       9 entitle Pulte to independent counsel.

                                                      10          161.    As a result of the claims alleged in the Alford action and NGM’s failure to provide

                                                      11 Pulte with a defense, Pulte has incurred and will continue to incur significant costs, including, but
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                                                      12 not limited to, forensic, investigative, and repair costs, attorneys’ fees and other expenses.
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                                                      13 The Mendoza Action
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                                                      14          162.    On June 19, 2015, homeowners in the Anthem at Merrill Ranch development in
                                                      15 Mesa, Arizona filed a construction defect complaint entitled Jose Mendoza., et al. v. Pulte Home

                                                      16 Corporation, Superior Court, Pinal County, Arizona, Case No. CV2015-01501155 (“Mendoza”),

                                                      17 against Pulte alleging, among other things, that homes in the development contained defective and

                                                      18 negligent design, engineering, materials, and construction, that these defects caused damages that

                                                      19 Pulte is liable for.

                                                      20          163.    The Mendoza complaint and expert reports produced in the Mendoza action allege

                                                      21 that the work of Stucco Systems, Cobra Plastering, and Anozira caused property damage to the

                                                      22 work of others.

                                                      23          164.    The Mendoza complaint and expert reports in the Mendoza action were provided to

                                                      24 NGM by Pulte and should have been considered by NGM when making its coverage decision.

                                                      25          165.    Pulte tendered the defense and indemnity of the Mendoza claim to NGM under the

                                                      26 Stucco Systems policies, Cobra Plastering policies, and Anozira policies on or around February 2,

                                                      27 2015.

                                                      28          166.    After a delay of over five months, NGM improperly denied Pulte’s tender under the


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                                                       1 Stucco Systems policies, Cobra Plastering policies, and Anozira policies on May 23, 2016.

                                                       2          167.    After a delay of over eight months, NGM acknowledged its duty to defend Pulte in

                                                       3 the Mendoza action under the Stucco Systems policies, Cobra Plastering policies, and Anozira

                                                       4 policies on October 21, 2016.

                                                       5          168.    Despite acknowledging its duty to defend Pulte in the Medoza action, NGM has

                                                       6 paid nothing towards Pulte’s defense.

                                                       7          169.    NGM purported to assign separate counsel to defend Pulte in the Medoza action.

                                                       8 However, NGM unreasonably delayed in acknowledging its duty to defend Pulte and by doing so

                                                       9 waived any right it may have had to assign counsel to defend Pulte. Further, there are conflicts of

                                                      10 interest between NGM and Pulte as well as between Pulte and NGM’s chosen counsel which

                                                      11 entitle Pulte to independent counsel.
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                                                      12          170.    As a result of the claims alleged in the Mendoza action and NGM’s failure to
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                                                      13 provide Pulte with a defense, Pulte has incurred and will continue to incur significant costs,
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                                                      14 including, but not limited to, forensic, investigative, and repair costs, attorneys’ fees and other

                                                      15 expenses.

                                                      16 The Nesbitt Arbitration

                                                      17          171.    On March 6, 2015, homeowners in the Sun City Festival development in Buckeye,
                                                      18 Arizona, including the lead claimants, Roger and Patti Nesbitt, filed a demand for arbitration of

                                                      19 their construction defect claims with the American Arbitration Association against Pulte and Pulte

                                                      20 Development Corp. (collectively, the “Pulte entities”) alleging, among other things, that homes in

                                                      21 the development contained defective and negligent design, engineering, materials, and

                                                      22 construction, that these defects caused damages that the Pulte entities are liable for.

                                                      23          172.    The Nesbitt arbitration demand and expert reports produced in the Nesbitt

                                                      24 arbitration allege that the work of Stucco Systems and Cobra Plastering caused property damage

                                                      25 to the work of others.

                                                      26          173.    The Nesbitt arbitration demand and expert reports in the Nesbitt arbitration were

                                                      27 provided to NGM by the Pulte entities and should have been considered by NGM when making its

                                                      28 coverage decision.


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                                                       1          174.    The Pulte entities tendered the defense and indemnity of the Nesbitt claim to NGM

                                                       2 under the Stucco Systems policies and the Cobra Plastering policies on or around November 17,

                                                       3 2015.

                                                       4          175.    After delays of nearly five months and seven months, NGM improperly denied the

                                                       5 Pulte entities’ tender under the Stucco Systems policies and the Cobra Plastering policies on April

                                                       6 6, 2016 and June 16, 2016, respectively.

                                                       7          176.    After a delay of nearly nine months, NGM acknowledged its duty to defend the

                                                       8 Pulte entities in Nesbitt under the Stucco Systems policies and the Cobra Plastering policies on

                                                       9 August 9, 2016.

                                                      10          177.    Despite acknowledging its duty to defend the Pulte entities in Nesbitt, NGM has

                                                      11 paid nothing towards the Pulte entities’ defense.
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                                                      12          178.    NGM purported to assign separate counsel to defend the Pulte entities in Nesbitt.
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                                                      13 However, NGM unreasonably delayed in acknowledging its duty to defend the Pulte entities and
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                                                      14 by doing so forfeited any right it may have had to assign counsel to defend the Pulte entities.

                                                      15 Further, there are conflicts of interest between NGM and the Pulte entities as well as between the

                                                      16 Pulte entities and NGM’s chosen counsel which entitle the Pulte entities to independent counsel.

                                                      17          179.    As a result of the claims alleged in Nesbitt and NGM’s failure to provide the Pulte

                                                      18 entities with a defense, the Pulte entities have incurred and will continue to incur significant costs,

                                                      19 including, but not limited to, forensic, investigative, and repair costs, attorneys’ fees and other

                                                      20 expenses.

                                                      21 The Anderson/Steeman Action

                                                      22          180.    On July 7, 2017, homeowners in the Anthem at Merrill Ranch development in

                                                      23 Mesa, Arizona filed a construction defect complaint entitled Ken & Bettie Anderson., et al. v.

                                                      24 Pulte Development Corporation, Centex Real Estate Construction Co. and Pulte Home

                                                      25 Corporation, Superior Court, Pinal County, Arizona, Case No. CV2017-01700827 (“Anderson”),

                                                      26 against the Pulte entities and Centex alleging, among other things, that homes in the development

                                                      27 contained defective and negligent design, engineering, materials, and construction, that these

                                                      28 defects caused damages that the Pulte entities and Centex are liable for.


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                                                       1           181.   The Anderson complaint and expert reports produced in the Anderson action allege

                                                       2 that the work of Stucco Systems, Anozira, and Whitton caused property damage to the work of

                                                       3 others.

                                                       4           182.   The Anderson complaint and expert reports in the Anderson action were provided

                                                       5 to NGM by Pulte and Centex and should have been considered by NGM when making its

                                                       6 coverage decision.

                                                       7           183.   Pulte and Centex tendered the defense and indemnity of the Anderson claim to

                                                       8 NGM under the Stucco Systems policies, Whitton policies, and Anozira policies on or around

                                                       9 June 29, 2017.

                                                      10           184.   After a delay of seven months, NGM acknowledged its duty to defend Centex and

                                                      11 Pulte in the Anderson action under the Stucco Systems policies and Anozira policies on January 3,
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                                                      13           185.   After a delay of nine months, NGM acknowledged its duty to defend Pulte and
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                                                      14 Centex in the Anderson action under the Whitton policies on June 4, 2018.

                                                      15           186.   Despite acknowledging its duty to defend Pulte and Centex in the Anderson action,

                                                      16 NGM has paid nothing towards Pulte’s defense.

                                                      17           187.   NGM purported to assign separate counsel to defend Pulte and Centex in the

                                                      18 Anderson action. However, NGM unreasonably delayed in acknowledging its duty to defend Pulte

                                                      19 and Centex and by doing so forfeited any right it may have had to assign counsel to defend Pulte

                                                      20 and Centex. Further, there are conflicts of interest between NGM and Pulte and Centex as well as

                                                      21 between Pulte and Centex and NGM’s chosen counsel which entitle Pulte and Centex to

                                                      22 independent counsel.

                                                      23           188.   As a result of the claims alleged in the Anderson action and NGM’s failure to

                                                      24 provide Pulte and Centex with a defense, Pulte and Centex have incurred and will continue to

                                                      25 incur significant costs, including, but not limited to, forensic, investigative, and repair costs,

                                                      26 attorneys’ fees and other expenses.

                                                      27 The Stetson Valley Claim

                                                      28           189.   On March 7, 2017, homeowners in the Stetson Valley development in Phoenix,


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                                                       1 Arizona forwarded a pre-litigation notice of construction defects to Pulte (“Stetson Valley

                                                       2 Claim”), alleging, among other things, that homes in the development contained defective and

                                                       3 negligent design, engineering, materials, and construction, that these defects caused damages that

                                                       4 Pulte is liable for.

                                                       5          190.    The Stetson Valley Claim expert reports produced therein allege that the work of

                                                       6 Stucco Systems caused property damage to the work of others.

                                                       7          191.    The Stetson Valley Claim and expert reports therein were provided to NGM by

                                                       8 Pulte and should have been considered by NGM when making its coverage decision.

                                                       9          192.    Pulte tendered the defense and indemnity of the Stetson Valley Claim claim to

                                                      10 NGM under the Stucco Systems policies on or around October 25, 2017.

                                                      11          193.    After a delay of over eight months, NGM acknowledged its duty to defend Pulte in
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                                                      12 the Stetson Valley Claim under the Stucco Systems policies on July 2, 2018.
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                                                      13          194.    Despite acknowledging its duty to defend Pulte in the Stetson Valley Claim, NGM
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                                                      14 has paid nothing towards Pulte’s defense.

                                                      15          195.    NGM purported to assign separate counsel to defend Pulte in the Stetson Valley

                                                      16 Claim. However, NGM unreasonably delayed in acknowledging its duty to defend Pulte and by

                                                      17 doing so forfeited any right it may have had to assign counsel to defend Pulte. Further, there are

                                                      18 conflicts of interest between NGM and Pulte as well as between Pulte and NGM’s chosen counsel

                                                      19 which entitle Pulte to independent counsel.

                                                      20          196.    As a result of the claims alleged in the Stetson Valley Claim and NGM’s failure to

                                                      21 provide Pulte with a defense, Pulte has incurred and will continue to incur significant costs,

                                                      22 including, but not limited to, forensic, investigative, and repair costs, attorneys’ fees and other

                                                      23 expenses.

                                                      24                                     FIRST CAUSE OF ACTION
                                                                                                 Breach of Contract
                                                      25                                    (By All Plaintiffs Against NGM)
                                                      26

                                                      27          197.    Plaintiffs reallege the allegations contained in paragraphs 1 through 196, inclusive,

                                                      28 and incorporates them by reference as though fully set forth herein.


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                                                       1          198.    Plaintiffs requested that NGM defend Plaintiffs against the 15 construction defect

                                                       2 claims as described more fully above. Plaintiffs have performed all obligations owing under each

                                                       3 of the policies in connection with their tenders of defense, and Plaintiffs have satisfied all relevant

                                                       4 conditions precedent.

                                                       5          199.    NGM has failed to discharge its contractual duties to defend Plaintiffs against the

                                                       6 15 construction defect claims described herein. More particularly, NGM (1) breached its contracts

                                                       7 by failing to promptly respond to Plaintiffs’ tenders; (2) breached its contracts by refusing to fully

                                                       8 defend Plaintiffs, and in most cases paying nothing towards Plaintiffs’ defense although NGM has

                                                       9 acknowledged its duty to defend Plaintiffs in all 15 of the construction defect claims; and (3)

                                                      10 refuses to acknowledge its duty to provide Plaintiffs with a full and conflict-free defense.

                                                      11          200.    As a direct and proximate result of NGM’s conduct as alleged in this Complaint,
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                                                      12 Plaintiffs have been damaged and will continue to be damaged in an amount to be proven at trial.
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                                                      13                                  SECOND CAUSE OF ACTION
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                                                                          Breach of the Implied Covenant of Good Faith and Fair Dealing
                                                      14                                  (By All Plaintiffs Against NGM)
                                                      15

                                                      16          201.    Centex realleges the allegations contained in paragraphs 1 through 200, inclusive,

                                                      17 and incorporates them by reference as though fully set forth herein.

                                                      18          202.    NGM owes Plaintiffs a duty of good faith and fair dealing, obligating NGM to put

                                                      19 Plaintiffs’ interests equal with or ahead of their own interests and to do nothing to deprive

                                                      20 Plaintiffs of policy benefits.

                                                      21          203.    Rather than honor its obligations, NGM has instead sought to protect its own

                                                      22 interests and has subordinated Plaintiffs’ interests by refusing to discharge contractual duties

                                                      23 without reasonable grounds or good cause.

                                                      24          204.    In addition, NGM has acted with knowledge or reckless disregard of the lack of a

                                                      25 reasonable grounds or good cause.

                                                      26          205.    Accordingly, NGM has deprived Plaintiffs of their rights and benefits under their

                                                      27 policies. For example:

                                                      28


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                                                       1                  a.      Pursuant to clearly applicable law, NGM has a duty to promptly investigate

                                                       2 and respond to Plaintiffs’ tenders and indicate whether it would defend Plaintiffs against the

                                                       3 claims involving the Developments. NGM understands and is fully aware of this duty. Despite its

                                                       4 knowledge of this obligation, NGM has failed to respond to Plaintiffs’ tenders in a timely fashion.

                                                       5 On information and belief, these delays violate NGM’s own internal policies. To further delay

                                                       6 making coverage decisions and avoid assuming the financial burden of defending Plaintiffs, on

                                                       7 some occasions NGM requested documents that Plaintiffs had already supplied to NGM so as to

                                                       8 force Plaintiffs to continue defending themselves and incurring costs without NGM’s support.

                                                       9 NGM delayed rendering coverage decisions in conscious disregard of the risk that these delays

                                                      10 would jeopardize Plaintiffs’ ability to adequately defend themselves against the claims involving

                                                      11 the Developments, and would jeopardize Plaintiffs’ ability to settle those matters. NGM’s
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                                                      12 decisions to delay responding to Plaintiffs’ tenders were motivated by a desire to unfairly enhance
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                                                      13 its own profits by avoiding contractual obligations and ignoring the contractual rights and
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                                                      14 economic interests of Plaintiffs. NGM acted in a deliberate and concerted fashion to achieve this

                                                      15 self-serving economic objective. NGM’s conduct in this regard tortiously breaches the duty of

                                                      16 good faith and fair dealing owed to Plaintiffs, and recklessly disregards Plaintiffs’ economic and

                                                      17 property rights.

                                                      18                  b.      Pursuant to clearly applicable law, NGM has a duty to fully defend

                                                      19 Plaintiffs, as opposed to only providing an equitable or partial defense based on the liability of its

                                                      20 named insureds. NGM is fully aware of this duty. Despite NGM’s knowledge that it has a duty to

                                                      21 defend the entirety of the claims related to the Developments pursuant to clearly applicable law, it

                                                      22 unreasonably refused to do so. For example, NGM agreed to defend Plaintiffs for all of the

                                                      23 claims, but asserts that it only has to provide Plaintiffs with a partial defense in proportion to the

                                                      24 liability of NGM’s named insureds. NGM’s conduct in this regard is unreasonable and tortiously

                                                      25 breaches its duty of good faith and fair dealing owed to Plaintiffs.

                                                      26                  c.      NGM has a duty to supply Plaintiffs independent counsel because it cannot

                                                      27 provide a conflict free defense. NGM is fully aware of this duty. Despite NGM’s knowledge of its

                                                      28 duty to supply Plaintiffs independent counsel because of its reservations of rights and the resulting


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                                                       1 conflicts of interest, NGM has tried to force Plaintiffs to accept new, conflicted defense counsel.

                                                       2 NGM’s attempts to force Plaintiffs to accept new, conflicted defense counsel are motivated by a

                                                       3 desire to enhance unfairly its own profits by avoiding its contractual obligations and ignoring the

                                                       4 contractual rights and economic interests of Plaintiffs. NGM acted in a deliberate fashion to

                                                       5 achieve this self-serving economic objective. NGM’s conduct in this regard tortiously breaches

                                                       6 the duty of good faith and faith dealing owed to Plaintiffs and recklessly disregards Plaintiffs’

                                                       7 economic and property rights.

                                                       8          206.    NGM’s conduct as alleged in this Complaint is part of a pattern of unfair claims

                                                       9 practices intentionally engaged in by NGM to enhance unfairly its own profits by avoiding

                                                      10 contractual obligations and ignoring the contractual rights and economic interests of Plaintiffs and

                                                      11 other additional insureds. These systematic practices include: (1) failing to respond promptly to
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                                                      12 tenders from additional insureds; (2) wrongfully denying additional insureds coverage owed under
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                                                      13 policies; and (3) refusing to supply a full and conflict-free defense to additional insureds as
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                                                      14 required by law and instead trying to limit coverage obligations to funding only a small fraction of

                                                      15 the additional insured’s defense.

                                                      16          207.    As a direct and proximate result of NGM’s tortious breach of the duty of good faith

                                                      17 and fair dealing, Plaintiffs have suffered damages in an amount to be proven at trial, including

                                                      18 without limitation, legal costs incurred to obtain the benefits of the respective policies.

                                                      19          208.    In addition, NGM’s conduct as alleged in this Complaint is despicable and has been

                                                      20 carried out in willful and conscious disregard of Plaintiffs’ rights and economic interests, and is

                                                      21 malicious, fraudulent and oppressive. Accordingly, NGM’s conduct entitles Plaintiffs to punitive

                                                      22 damages.

                                                      23          209.    NGM’s malicious, fraudulent, and oppressive conduct includes, for example:

                                                      24                  a.      As described above, NGM was fully aware of its duty to promptly

                                                      25 investigate and respond to Plaintiffs’ tenders and indicate whether it would defend and indemnify

                                                      26 Plaintiffs, but instead delayed responding to Plaintiffs’ tenders. NGM knows that failing to

                                                      27 promptly respond to Plaintiffs’ tenders and to immediately defend it violates Plaintiffs’ contractual

                                                      28 rights, but NGM does so anyway in willful and conscious disregard of Plaintiffs’ rights.


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                                                       1                  b.      As described above, NGM is fully aware of its duty to defend additional

                                                       2 insureds, like Plaintiffs, and to indemnify them for liability arising out of the work of their named

                                                       3 insured, but routinely attempts to skirt these obligations by treating additional insureds differently

                                                       4 from its named insureds. NGM knows that this behavior violates the rights of additional insureds,

                                                       5 like Plaintiffs, but intentionally tries to deprive additional insureds, like Plaintiffs, of their policy

                                                       6 benefits in willful and conscious disregard of their rights.

                                                       7                  c.      As described above, NGM was and is fully aware of its duty to supply

                                                       8 Plaintiffs a full defense as opposed to only providing an equitable or partial defense based on the

                                                       9 liability of its named insured. NGM knows that failing to provide Plaintiffs a full defense violates

                                                      10 their contractual rights, but NGM intentionally fails to provide a complete defense, in willful and

                                                      11 conscious disregard of Plaintiffs’ rights.
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                                                      12                  d.      As described above, NGM was and is fully aware of its duty to supply
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                                                      13 Plaintiffs independent counsel because it cannot provide a conflict-free defense and because it
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                                                      14 breached its insurance contract by failing to immediately defend Plaintiffs. NGM knows that

                                                      15 failing to provide Plaintiffs with independent counsel violates their rights, but intentionally tries to

                                                      16 deprive Plaintiffs of independent counsel in willful and conscious disregard of Plaintiffs’ rights.

                                                      17                                      THIRD CAUSE OF ACTION
                                                                               Violations of Nevada’s Unfair Claims Settlement Practices
                                                      18                                     (By All Plaintiffs Against NGM)
                                                      19

                                                      20          210.    Plaintiffs reallege the allegations contained in paragraphs 1 through 209, inclusive,

                                                      21 and incorporates them by reference as though fully set forth herein.

                                                      22          211.    NGM’s conduct constitutes a violation of one or more of the following sub-sections

                                                      23 of Nev. Rev. Stat. Ann. § 686A.310:

                                                      24                  a.      Failing to acknowledge and act reasonably promptly upon communications

                                                      25 with respect to claims arising under insurance policies.

                                                      26                  b.      Failing to adopt and implement reasonable standards for the prompt

                                                      27 investigation and processing of claims under insurance policies.

                                                      28


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                                                       1                  c.      Failing to affirm or deny coverage of claims within a reasonable time after

                                                       2 proof of loss requirements have been completed and submitted by the insured.

                                                       3                  d.      Failing to effectuate prompt, fair and equitable settlements of claims in

                                                       4 which liability of the insurer has become reasonably clear.

                                                       5                  e.      Compelling insureds to institute litigation to recover amounts due under an

                                                       6 insurance policy by offering substantially less than the amounts ultimately recovered in actions

                                                       7 brought by such insureds when the insureds have made claims for amounts reasonably similar to

                                                       8 the amounts ultimately recovered.

                                                       9                  f.      On information and belief, NGM has engaged in other conduct in the

                                                      10 handling of the claims related to the Developments that constitutes unfair practices under other

                                                      11 provisions of NRS 686A.310.
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                                                      12           212.   As a direct and proximate result of NGM’s violations of Nev. Rev. Stat. Ann. §
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                                                      13 686A.310, Plaintiffs have sustained damages in an amount within the jurisdictional limits of this
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                                                      14 Court, including, but not limited to, punitive damages.

                                                      15           213.   As a direct and proximate result of NGM’s violations of Nev. Rev. Stat. Ann. §

                                                      16 686A.310, Plaintiffs have incurred attorneys’ fees, court costs and other expenses in bringing this

                                                      17 action.

                                                      18                                    FOURTH CAUSE OF ACTION
                                                                                                (Declaratory Relief)
                                                      19

                                                      20           214.   Plaintiffs reallege the allegations contained in paragraphs 1 through 213, inclusive,

                                                      21 and incorporates them by reference as though fully set forth herein.

                                                      22           215.   An actual controversy has arisen and now exists between Plaintiffs, on the one

                                                      23 hand, and NGM, on the other hand, in that Plaintiffs contend that under the policies described

                                                      24 herein, NGM owes a separate and independent duty to promptly provide Plaintiffs with a full and

                                                      25 conflict-free defense in the claims related to the Developments.

                                                      26           216.   Plaintiffs are informed and believe that NGM contend otherwise.

                                                      27           217.   Plaintiffs desire a judicial determination as follows:

                                                      28                       a. that NGM owes a separate and independent duty to defend Plaintiffs in each


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                                                       1 of the claims described herein;

                                                       2                      b. that the scope of this duty is to provide Plaintiffs with an immediate,

                                                       3 conflict-free and full defense;

                                                       4                      c. that the obligations of NGM to provide Plaintiffs with an immediate,

                                                       5 conflict-free, and full defense is not diminished or reduced when other insurers owe Plaintiffs this

                                                       6 same duty.

                                                       7                      d. that NGM must provide Plaintiffs with independent counsel in the claims

                                                       8 described herein due to NGM’s delay in providing Plaintiffs with a defense and due to the

                                                       9 conflicts of interest between NGM and Plaintiffs and the conflicts of interest between Plaintiffs

                                                      10 and NGM’s chosen counsel.

                                                      11          218.   A declaratory judgment is both proper and necessary so that the respective rights,
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                                                      12 duties, and obligations of Centex and Defendants may be determined.
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                                                      13                                                PRAYER
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                                                      14          WHEREFORE, Plaintiffs pray for judgment against NGM as follows:
                                                      15          1.     FIRST CAUSE OF ACTION:
                                                      16                 a.      For general and specific damages in an amount to be proven at trial;
                                                      17                 b.      For all costs and expenses at the full extent permitted by law;
                                                      18                 c.      For pre-judgment interest and post-judgment interest at the full extent
                                                      19                 permitted by law;

                                                      20                 d.      For attorneys’ fees to the extent recoverable by applicable law; and

                                                      21                 e.      For such other and further relief as the Court deems fair and proper.

                                                      22          2.     SECOND CAUSE OF ACTION:
                                                      23                 a.      For general and specific damages in an amount to be proven at trial;

                                                      24                 b.      For punitive damages at the full extent permitted by law;

                                                      25                 c.      For all costs and expenses at the full extent permitted by law;

                                                      26                 d.      For pre-judgment interest and post-judgment interest at the full extent

                                                      27                 permitted by law;

                                                      28                 e.      For attorneys’ fees to the extent recoverable by applicable law; and


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                                                       1              f.     For such other and further relief as the Court deems fair and proper.

                                                       2        3.    THIRD CAUSE OF ACTION:
                                                       3              a.     For general and specific damages in an amount to be proven at trial;

                                                       4              b.     For punitive damages at the full extent permitted by law;

                                                       5              c.     For all costs and expenses at the full extent permitted by law;

                                                       6              d.     For pre-judgment interest and post-judgment interest at the full extent

                                                       7              permitted by law;

                                                       8              e.     For attorneys’ fees to the extent recoverable by applicable law; and

                                                       9              f.     For such other and further relief as the Court deems fair and proper.

                                                      10        4.    FOURTH CAUSE OF ACTION:
                                                      11              a.     For declaratory relief as described above;
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                                                      12              b.     For all costs and expenses at the full extent permitted by law;
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                                                      13              c.     For pre-judgment interest and post-judgment interest at the full extent
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                                                      14              permitted by law;
                                                      15              d.     For attorneys’ fees to the extent recoverable by applicable law; and
                                                      16              e.     For such other and further relief as the Court deems fair and proper.
                                                      17 DATED: July 23, 2018                    PAYNE & FEARS        LLP

                                                      18

                                                      19
                                                                                                 By             /s/ Sarah J. Odia
                                                      20                                                SCOTT S. THOMAS, NV Bar No. 7937
                                                                                                        SARAH J. ODIA, NV Bar No. 11053
                                                      21                                                6385 S. Rainbow Blvd., Suite 220
                                                                                                        Las Vegas, Nevada 89118
                                                      22                                                Tel. (702) 851-0300
                                                      23                                                Attorneys for CENTEX HOMES, CENTEX
                                                                                                        REAL ESTATE CONSTRUCTION COMPANY,
                                                      24                                                PULTE HOME CORPORATION, AND PULTE
                                                                                                        DEVELOPMENT CORPORATION
                                                      25

                                                      26

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                                                       1                                             JURY DEMAND
                                                       2            Plaintiffs hereby demand a trial by jury.

                                                       3                                                  Respectfully submitted,

                                                       4 DATED: July 23, 2018                          PAYNE & FEARS       LLP

                                                       5

                                                       6
                                                                                                       By               /s/ Sarah J. Odia
                                                       7                                                        SCOTT S. THOMAS, NV Bar No. 7937
                                                                                                                SARAH J. ODIA, NV Bar No. 11053
                                                       8                                                        6385 S. Rainbow Blvd., Suite 220
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                                                      10                                                        Attorneys for CENTEX HOMES, CENTEX
                                                                                                                REAL ESTATE CONSTRUCTION COMPANY,
                                                      11                                                        PULTE HOME CORPORATION, AND PULTE
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                                                                                                                DEVELOPMENT CORPORATION
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